 Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 1 of 76




                            NO. 23-16010
                UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT

   In re TESLA, INC., SECURITIES LITIGATION
   GLEN LITTLETON, Lead Plaintiff,
                                    Plaintiff-Appellant
          v.
   ELON MUSK, TESLA, INC., BRAD W. BUSS, ROBYN
   DENHOLM, IRA EHRENPREIS, ANTONIO J. GRACIAS,
   JAMES MURDOCH, KIMBAL MUSK, and LINDA
   JOHNSON RICE,
                                    Defendants-Appellees,
               Appeal from United States District Court
                for the Northern District of California
                 Civil Case No. 3:18-cv-04865-EMC
                        Hon. Edward M. Chen

        PLAINTIFF-APPELLANT’S OPENING BRIEF

Nicholas I. Porritt                        Adam M. Apton
LEVI & KORSINSKY, LLP                      Adam C. McCall
1101 Vermont Avenue NW, Suite 700          LEVI & KORSINSKY, LLP
Washington, DC 20005                       1160 Battery Street East, Suite 100
Tel: (202) 524-4290                        San Francisco, CA 94111
Fax: (212) 363-7171                        Tel: (415) 373-1671
                                           Fax: (212) 363-7171

          Attorneys for Plaintiff-Appellant Glen Littleton
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 2 of 76




            CORPORATE DISCLOSURE STATEMENT

     Federal     Rule      of    Appellate      Procedure       26.1     requires

nongovernmental corporate parties to identify parent corporations and

publicly held corporations that own 10% or more of their stock. Plaintiff-

Appellant Glen Littleton is an individual and, therefore, not subject to

Federal Rule of Appellate Procedure 26.1.




                                           i
             Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 3 of 76




                                    TABLE OF CONTENTS

TABLE OF AUTHORITIES ..................................................................... IV
STATEMENT OF JURISDICTION ........................................................... 1
INTRODUCTION ....................................................................................... 2
ISSUES PRESENTED ............................................................................... 4
STATEMENT OF THE CASE ................................................................... 6
        A.       BACKGROUND TO TESLA GO-PRIVATE TRANSACTION.
                 ................................................................................................... 6
        B.       AUGUST 7, 2018 “FUNDING SECURED” AND “INVESTOR
                 SUPPORT IS CONFIRMED”.. ................................................ 8
        C.       MARKET AND PUBLIC IMMEDIATELY REACT TO MR.
                 MUSK’S AUGUST 7, 2018 TWEETS. ................................... 10
        D.       AFTER HIS TWEETS, MR. MUSK ATTEMPTS TO
                 SECURE FUNDING AND CONFIRM INVESTOR
                 SUPPORT. .............................................................................. 13
        E.       NEW YORK TIMES: FUNDING IS FAR FROM SECURE. 15
        F.       MR. MUSK WITHDRAWS GO-PRIVATE PROPOSAL IN
                 RESPONSE TO NEGATIVE VIEWS OF INVESTORS. ...... 16
        G.       PROCEDURAL HISTORY. ................................................... 18
        H.       TRIAL. .................................................................................... 21
SUMMARY OF ARGUMENT .................................................................. 26
ARGUMENT ............................................................................................. 30
        I.       JURY INSTRUCTIONS WERE ERRONEOUS WHICH
                 REQUIRES REVERSAL. ............................................................. 30
                 A.       Standard of Review ....................................................... 30
                 B.       An Error in Civil Jury Instructions Requires Reversal
                          Unless the Error is Harmless. ...................................... 30
                 C.       The Jury Instructions Misstated the Law Regarding
                          Scienter Which is Prejudicial and Requires Reversal. 30

                                                             ii
          Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 4 of 76




       II.     THE DISTRICT COURT COMMITTED REVERSIBLE
               ERROR BY DENYING PLAINTIFF’S MOTION FOR
               JUDGMENT AS A MATTER OF LAW ON MATERIALITY
               AND PERMITTING THAT ISSUE TO BE DECIDED BY
               THE JURY. ..................................................................................... 35
               A.      Standard of Review. ...................................................... 35
               B.      Judgment as a Matter of Law Should Be Entered on a
                       Claim or Issue When the Evidence at Trial Permits
                       Only One Conclusion Based on Substantial Evidence.
                       ....................................................................................... 36
               C.      Mr. Musk’s August 7, 2018 Tweets Were Material
                       Because There Was a Substantial Likelihood That a
                       Reasonable Shareholder Would Consider Them
                       Important. ..................................................................... 37
               D.      Mr. Musk’s Tweets Also Gave a Reasonable Investor
                       The Impression of a State of Affairs That Differs in a
                       Material Way From the One That Actually Exists. .... 51
CONCLUSION ......................................................................................... 64
STATEMENT OF RELATED CASES ..................................................... 67
CERTIFICATE OF COMPLIANCE [FORM 8] ....................................... 68
CERTIFICATE OF SERVICE.................................................................. 70




                                                     iii
          Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 5 of 76




                              TABLE OF AUTHORITIES
Cases
Amgen Inc. v. Connecticut Ret. Plans & Tr. Funds,
 568 U.S. 455 (2013) ................................................................................ 38
Chisholm Bros. Farm Equip. Co. v. Int’l Harvester Co.,
 498 F.2d 1137 (9th Cir. 1974) .................................................... 28, 36, 49
Clem v. Lomeli,
 566 F.3d 1177 (9th Cir. 2009) ................................................................ 30
Dang v. Cross,
 422 F.3d 800 (9th Cir. 2005) .................................................................. 30
Erickson Prods., Inc. v. Kast,
 921 F.3d 822 (9th Cir. 2019) .................................................................. 35
Erickson v. Pierce Cnty.,
 960 F.2d 801 (9th Cir.1992) ................................................................... 36
Gantt v. City of Los Angeles,
 717 F.3d 702 (9th Cir. 2013) ............................................................ 30, 34
Gebhardt v. SEC,
 595 F.3d 1034 (9th Cir. 2010) ................................................................ 26
Janich Bros., Inc. v. Am. Distilling Co.,
 570 F.2d 848 (9th Cir. 1977) .................................................................. 37
Lakeside-Scott v. Multnomah Cnty.,
 556 F.3d 797 (9th Cir. 2009) ............................................................ 37, 49
Landes Constr. Co. v. Royal Bank of Can.,
 833 F.2d 1365 (9th Cir.1987) ................................................................. 36
Miller v. Thane Int'l, Inc.,
 519 F.3d 879 (9th Cir. 2008) .................................................................. 38
Peralta v. Dillard,
 744 F.3d 1076 (9th Cir. 2014) ................................................................ 37



                                                  iv
           Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 6 of 76




SEC v. Murphy,
 626 F.2d 633 (9th Cir. 1980) ............................................................ 29, 38
SEC v. Todd,
 642 F.3d 1207 (9th Cir. 2011) ................................................................ 38
TSC Industries, Inc. v. Northway, Inc.,
 426 U.S. 438 (1976) .................................................................... 28, 37, 51
United States v. Tarallo,
 380 F.3d 1174 (9th Cir. 2004) ................................................................ 31
Weaving v. City of Hillsboro,
 763 F.3d 1106 (9th Cir. 2014) .............................................. 28, 35, 36, 51


Statutes
15 U.S.C. § 78aa.......................................................................................... 1
15 U.S.C. § 78j ............................................................................................ 4
15 U.S.C. § 78u-4 ...................................................................................... 33
28 U.S.C. § 1291.......................................................................................... 1
28 U.S.C. § 1331.......................................................................................... 1
28 U.S.C. § 1337.......................................................................................... 1


Rules
17 C.F.R. § 240-10b-5 ................................................................................. 4
Fed. R. App. P. 4 ......................................................................................... 1
Fed. R. Civ. P. 50 ...................................................................................... 36




                                                      v
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 7 of 76




                  STATEMENT OF JURISDICTION

     The District Court had subject matter jurisdiction pursuant to

Section 27 of the Securities Exchange Act, 15 U.S.C. § 78aa(a), and 28

U.S.C. §§ 1331 and 1337(a).

     This Court has jurisdiction over this appeal pursuant to 28 U.S.C.

§ 1291. Following a jury trial, the District Court entered a judgment in

favor of Defendants dated July 11, 2023. 1-ER-2. Plaintiffs filed a Notice

of Appeal on July 14, 2023. 7-ER-1477. Pursuant to Federal Rule of

Appellate Procedure 4(a)(1)(A), Plaintiffs’ Notice of Appeal was timely.




                                       1
        Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 8 of 76




                              INTRODUCTION

      This appeal arises from claims of a certified class of investors in

securities of Tesla, Inc. for losses caused by statements by Defendant

Elon Musk in August 2018 regarding a proposed transaction to take

Tesla private. Specifically, on August 7, 2018, Mr. Musk tweeted to over

22 million followers: “Am considering taking Tesla private at $420.

Funding secured.” Later the same day, Mr. Musk tweeted: “Investor

support is confirmed. Only reason why this is not certain is that it’s

contingent on a shareholder vote.” Each tweet was followed by immediate

and statistically significant increases in Tesla’s stock price. There

followed a ten-day period of intense scrutiny by the media, financial

analysts, and investors as well as an investigation by the United States

Securities & Exchange Commission concentrating on Mr. Musk’s

statements: “Funding secured” and “Investor Support is confirmed.”

Finally, by August 17, 2018, when it had become apparent that funding

for a Tesla go-private transaction was not secured and investor support

was not confirmed, Tesla’s stock price had plunged in value and Tesla

investors had lost billions of dollars.

      By order dated April 1, 2022, the District Court granted summary


                                        2
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 9 of 76




judgment in Plaintiff’s favor on the elements of falsity and scienter. 1-

ER-66. Specifically, the Court held that Mr. Musk’s statements were false

and that “a reasonable jury could reach only one conclusion regarding

scienter: that Mr. Musk made his statement recklessly.” 1-ER-66 at 23-

29). Following a motion for reconsideration by Defendants, the Court

clarified that its summary judgment ruling meant: “the statements at

issue were false and made with scienter but the Court left the issue of

whether the statements were material (which also impacts reliance) for

the jury to decide.” 1-ER-64.

     At trial, Plaintiff presented a large volume of evidence from

investors, journalists, analysts, and Tesla executives emphasizing the

importance of Mr. Musk’s statements to investors and the market.

Plaintiff also presented expert testimony opining that both statements

by Mr. Musk were material to Tesla investors. Defendants offered no

expert testimony. Over Plaintiff’s objection, the Court still submitted the

issues of materiality and reliance to the jury. The jury, based on the

Court’s instructions, returned a verdict in favor of Mr. Musk and the

other Defendants. 1-ER-28.




                                       3
    Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 10 of 76




                        ISSUES PRESENTED

1. Did the District Court commit reversible error by misstating the

  applicable law with regard to the element of scienter for a claim

  pursuant to Section 10(b) of the Securities Exchange Act of 1934,

  15 U.S.C. § 78j, and SEC Rule 10b-5, 17 C.F.R. § 240-10b-5, when,

  after granting summary judgment to Plaintiff on the issue whether

  Defendant Elon Musk acted with deliberate recklessness sufficient

  to satisfy the element of scienter, the Court instructed the jury in

  its Closing Instructions Nos. 6 and 9 that even though Elon Musk

  acted with with reckless disregard to whether misrepresentations

  were true, the jury still had to decide whether he acted knowingly

  to satisfy the element of scienter?

2. Did the District Court commit reversible error when it denied

  Plaintiff’s motions under Federal Rule of Civil Procedure 50(a) and

  50(b) and submitted the question of whether Elon Musk’s

  misrepresentations were material to the jury for determination

  where     Plaintiff    presented       evidence     at   trial,    including

  uncontroverted expert testimony, that the misrepresentations were

  material and significantly altered the total mix of information

                                     4
 Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 11 of 76




available to a reasonable investor and Defendants offered no

contrary evidence?




                                  5
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 12 of 76




                      STATEMENT OF THE CASE

     A.    BACKGROUND TO TESLA GO-PRIVATE
           TRANSACTION.

     As Chief Executive Officer of Tesla, Mr. Musk had long expressed

his frustrations with the demands arising from operating as a public

company and a desire to take Tesla private. 3-ER-574; 4-ER-768. On July

31, 2018, Mr. Musk met with representatives of the Saudi Arabia Public

Investment Fund, including Yasir Al-Rumayyan. 4-ER-779. The meeting

lasted approximately 45 minutes. During the meeting, Mr. Al-Rumayyan

expressed support for Tesla and said he “would like to listen more about

[Mr. Musk’s] plan to take it private.” Id. As Mr. Al-Rumayyan described

the meeting in subsequent texts sent to Mr. Musk on August 11 and 12,

2018: “We would like to explore investing in Tesla subject to being able

to create a Tesla production hub in the Kingdom of Saudi Arabia . . . .

Therefore, as discussed, we would like our teams to start working

together in a confidential manner to explore a potential transaction” and

“the agreement as was minuted by my people is to wait for the

information to be sent be [sic] you within a week, on how we will move

forward together.” 4-ER-790. At the close of the meeting, Mr. Al-

Rumayyan asked Musk to share his thoughts on the structure for the

                                        6
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 13 of 76




transaction, the percentage of ownership that would be needed to

complete the deal, and his “financial calculations to take it private.” 4-

ER-779.

     Importantly, critical terms were not discussed with the Saudi PIF

on July 31, 2018. The fundamental term of the price to be paid for Tesla

stock in a going private transaction, later proposed by Mr. Musk as $420

per share, $120 or 40% higher than its closing price on July 31, 2018, was

never discussed. 4-ER-779; 3-ER-400. The percentage of any private

Tesla that the Saudi PIF might own was not discussed, nor was the

overall structure of the transaction. 3-ER-400-01. Although Mr. Musk did

not communicate it to the Saudi PIF, he had no intention of letting the

Saudi PIF obtain majority control of Tesla and wanted to limit its

investment stake to 20 to 30 percent. 3-ER-438; 3-ER-450. The total

amount of funding, or even a range, was also not discussed; indeed the

amount of funding required was not even knowable as of July 31, 2018.

2-ER-356; 3-ER-420. No legally binding document was created as a result

of the July 31, 2018 meeting with the Saudi PIF and there was no legal

recourse against the Saudi PIF in the event they chose not to provide any

funding. 2-ER-331.


                                        7
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 14 of 76




      On August 2, 2018, Mr. Musk sent a short email to Tesla’s Board of

Directors with the subject line reading: “Offer to Take Tesla Private at

$420.” 4-ER-782. Mr. Musk did not provide any additional information or

terms for the transaction, such as the structure or source of funding. Id.

There is no discussion of the price or how it was determined in the body

of the email; it is solely referred to in the subject line. Id. Mr. Musk also

wrote that the “offer expires in 30 days.” Id. This “offer” was later

described at trial by Professor Guhan Subramanian of Harvard Law

School as so flimsy and lacking in thought and analysis that it was “just

an illusory offer, it’s not real.” 2-ER-303-07.

      B.    AUGUST 7, 2018 “FUNDING SECURED”                                  AND
            “INVESTOR SUPPORT IS CONFIRMED”..

      On August 7, 2018 at 9:48 a.m. PDT, Mr. Musk tweeted “Am

considering taking Tesla private at $420. Funding secured.” 4-ER-734.

Mr. Musk intended the tweet to contain three essential facts regarding a

Tesla go-private transaction: “I'm saying that I am considering -- very

importantly, considering – not that it will happen, but that I'm thinking

about it – taking Tesla private at 420. And that, in my opinion, the

funding is secured for taking Tesla private at that price. The reason I

said that price was that I was not confident it could be done at a higher

                                        8
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 15 of 76




price.” 2-ER-335. Shortly after Mr. Musk’s initial tweet at 9:48 a.m. PDT,

Tesla’s then-Chief Financial Officer, Deepak Ahuja, texted him: “Elon,

am sure you have thought about a broader communication on your

rationale and structure to employees and potential investors. Would it

help if Sarah [O’Brien, head of Tesla Global Communications], Todd

[Maron, Tesla’s General Counsel], and I draft a blog post or employee

email for you?” 4-ER-793. The email was drafted and sent and then

posted onto Tesla’ public blog. 4-ER-735. The email did not mention

funding or the Saudi PIF. Id. At 12:36 p.m. PDT, Mr. Musk tweeted a

link to his email to Tesla employees adding the statement: “Investor

support is confirmed. Only reason why this is not certain is that it’s

contingent on a shareholder vote.” 4-ER-737.




                                        9
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 16 of 76




     C.    MARKET AND PUBLIC IMMEDIATELY REACT TO
           MR. MUSK’S AUGUST 7, 2018 TWEETS.

     Tesla’s stock price reacted immediately to both of Mr. Musk’s

tweets. 3-ER-490-92. The following chart shows the intraday movements

of Tesla’s stock price on August 7, 2018:




6-ER-1296. The unrebutted testimony from Plaintiff’s expert, Dr.

Michael Hartzmark, was that the stock price increase from 12:48 p.m.,

when Mr. Musk published his first tweet, to close of trading on August 7,

2018 was statistically significant at the 95 per cent confidence level. 3-

ER-492-93. Prices of other Tesla securities also reacted almost

instantaneously. 3-ER-478-485; 6-ER-1271; 6-ER-1273. Trading in Tesla

                                       10
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 17 of 76




stock was so heavy that NASDAQ halted trading from 2:08 p.m. to 3:45

p.m. on August 7, 2018. 3-ER-497-98.

     Analysts and investors immediately responded to Mr. Musk’s

tweets. For example, Itay Michaeli, an analyst at Citi Research, emailed

Tesla’s Director of Investor Relations, Martin Viecha, on August 7, 2018

to inquire whether there was “an actual transaction on the table (with

secured financing)” or if going private was “more of a strategic

announcement” to which Mr. Viecha responded that “the very first Tweet

mentioned a firm offer.” 4-ER-807.

     Nii Owuraka Koney, a Managing Director at Jennison Associates,

a significant Tesla investor, also emailed Mr. Viecha on August 7, 2018

requesting a telephone call to discuss the “funding” for the transaction.

Mr. Viecha responded that “[t]he very first tweet simply mentioned

‘Funding secured’ which means that this is a firm offer” and that “the

offer is as firm as it gets.” 4-ER-777. It was important to Mr. Koney that

Tesla’s CEO had publicly stated that funding was secured. 6-ER-1339.

     Bradley Erickson, an analyst at KeyBanc Capital Markets, also

emailed Mr. Viecha on August 7, 2018 asking for him to “clarify” whether

“financing is secured.” Mr. Viecha responded by confirming that “the first


                                       11
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 18 of 76




Tweet clearly stated that ‘financing is secured.’ Yes, there is a firm offer.”

4-ER-812. And, Toni Sacconaghi, an analyst at AllianceBernstein,

emailed Mr. Viecha on August 7, 2018 for “questions/clarifications on

today’s news and blog post.” Mr. Viecha stated in response that “apart

from what has been tweeted and what was written in a blog post, we can’t

add anything else. I only wanted to stress that Elon’s first tweet, which

mentioned ‘financing secured’ is correct” and that “financing is secured

regardless of other assumptions.” 4-ER-814.

      JP Morgan’s analyst, Ryan Brinkman, considered Mr. Musk’s

tweets so important that he adjusted his price target for Tesla stock as a

result. 6-ER-1347-51. He wrote on August 8, 2018:

            As surprising to us as these developments are, and
            as lacking as the statements are in any details
            regarding who is expected to provide the required
            amount of financing and on what terms, they are
            nevertheless declarative statements from the CEO
            of a public company which we feel should be
            considered seriously. Either funding is secured or
            it is not secured, and Tesla’s CEO says funding is
            secured. Therefore, we are incorporating into our
            valuation the real possibility the equity will be
            taken out at $420 per share.

4-ER-738.

      Finally, Mr. Musk’s tweets also prompted an immediate regulatory

                                       12
      Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 19 of 76




response from the SEC as it also made enquiries of Tesla about the

tweets. On the afternoon of August 7, 2018, Mr. Ahuja, emailed Mr. Musk

alerting him that “We are getting a lot of enquiries from investors, SEC

and the media to better understand the comment ‘Funding secured.’” 2-

ER-342-43; 5-ER-1052.

     D.    AFTER HIS TWEETS, MR. MUSK ATTEMPTS TO
           SECURE FUNDING AND CONFIRM INVESTOR
           SUPPORT.

     On August 10, 2018, Mr. Musk met for the first time with his

financial advisors: Egon Durban of Silver Lake Partners and Dan Dees

of Goldman Sachs. 3-ER-450; 5-ER-906; 5-ER-1027. After hearing Mr.

Musk discuss his meeting with the Saudi PIF, both Mr. Durban and Mr.

Dees understood that there was no committed funding for any Tesla go-

private transaction. 3-ER-435; 3-ER-453-454; 3-ER-456-457; 5-ER-906;

5-ER-1027. According to Mr. Durban, the potential Tesla go-private was

not even at Stage 1 of his “Illustrative Public-to-Private Process

Timeline”. 3-ER-435-436. Stage 1 was titled “Submit formal proposal to

board following arrangement of committed financing.” 5-ER-906 at 29.

Silver Lake and Goldman Sachs then spent the next two weeks starting

to raise funding and gauge investor support. 3-ER-436; 3-ER-432; 5-ER-



                                      13
        Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 20 of 76




954.

       On August 13, 2018, Mr. Musk posted an “Update on Taking Tesla

Private” on Tesla’s website. 4-ER-775. In this update, Mr. Musk stated

that the Saudi PIF “has expressed support for proceeding subject to

financial and other due diligence and their internal review process for

obtaining approvals. He has also asked for additional details on how the

company would be taken private, including any required percentages and

any regulatory requirements.” Id. Mr. Musk then stated “I continue to

have discussions with the Saudi fund, and I also am having discussions

with a number of other investors, which is something that I always

planned to do since I would like for Tesla to continue to have a broad

investor base.” Id. In response to the blog post, Mr. Al-Rumayyan texted

Mr. Musk: “Elon, I am personally surprised. You have signed an NDA

while we are waiting for you and your team to provide us with

information to move forward, you post an ill-advised blog with loose

information.” 4-ER-790 at 13.

       In the August 13, 2018 update, Mr. Musk also stated that: “my best

estimate right now is that approximately two-thirds of shares owned by

all current investors would roll over into a private Tesla.” 4-ER-775.


                                        14
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 21 of 76




Neither Mr. Musk nor his financial advisors, however, had yet

meaningfully engaged with any potential investor in a private Tesla. On

August 16, 2018, Silver Lake and Goldman Sachs, on Mr. Musk’s behalf,

was in the process of obtaining “formal permission to make the following

calls to respond / engage potential interested / existing investors: Saudi

Arabia, UAE, ten cent [sic], google [sic], Ron Barron, Silver Lake

affiliates.” 5-ER-954. The email then said “No solicitation will be made

other than testing their interest to participate in the Tesla going private

initiative led by Elon.” Id.

      E.    NEW YORK TIMES: FUNDING IS FAR FROM SECURE.

      On the evening of August 16, 2018, the New York Times published

an article based on a lengthy interview with Mr. Musk. 4-ER-824. The

article described the events of August 7, 2018, including his tweets as

well as facts such as the tweets were not approved in advance by Tesla’s

Board and that “funding, it turned out, was far from secure” because the

Saudi PIF “had not committed to provide any cash.” 4-ER-824 at 2. The

price of Tesla’s stock and other securities reacted immediately with the

stock price declining to $305.50, a decline Dr. Hartzmark testified was

statistically significant. 3-ER-530-532; 6-ER-1080 at 22.


                                       15
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 22 of 76




     This New York Times article led Mr. Brinkman of JP Morgan to

discount entirely the possibility of a going private transaction for Tesla

and conclude that the August 7, 2018 tweets were not true. 6-ER-1080

59-69. Accordingly, Mr. Brinkman revised his price target for Tesla stock

back to what it had been before Mr. Musk’s tweets on August 7, 2018. Id.

On August 20, 2018, Mr. Brinkman published another note stating: “our

interpretation of subsequent events leads us to believe that funding was

not secured for the going-private transaction, nor was there any formal

proposal.” 4-ER-753. This interpretation “is different from our

understanding on August 8th which was based on Mr. Musk’s statement

on Twitter.” Id.

     F.    MR. MUSK WITHDRAWS GO-PRIVATE PROPOSAL IN
           RESPONSE TO NEGATIVE VIEWS OF INVESTORS.

     On August 23, 2018, the Tesla Board held an in-person meeting. 4-

ER-753. Silver Lake Partners and Goldman Sachs attended. Id. Although

Mr. Durban and Mr. Dees advised the Tesla Board that they believed

raising the necessary financing was “doable”, their discussion materials

demonstrate that neither the price per share nor the amount of capital

required for a go-private transaction had been determined; each was

indicated by “[*]”. 5-ER-955 at 9, 58. While taking Tesla private would

                                       16
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 23 of 76




require “$[*]B of committed capital”, neither Mr. Musk nor his financial

advisors had even $1 of committed capital. 3-ER-435. Instead, at the

meeting, Silver Lake Partners and Goldman Sachs outlined a process

which could identify and seek the necessary funding for the going private

transaction. 4-ER-785 at 2-3.

      Mr. Musk also discussed with the Board “information he had

learned in recent weeks following his announcement, including but not

limited to, the negative views of many of Tesla’s current stockholders

regarding the prospect of Tesla going private, the difficulties the

Company’s current stockholders would have in continuing to own Tesla’s

stock if the Company went private . . . .” 2-ER-346-347; 4-ER-785 at 1.

Mr. Musk then informed the Tesla Board “that he was withdrawing his

offer to try and take [Tesla] private.” 4-ER-785 at 4. In a press release

the next day, Mr. Musk and Tesla announced that Tesla was staying a

public company. 5-ER-1025. Mr. Musk noted that “given the feedback I’ve

received, it’s apparent the most of Tesla’s existing shareholders believe

we are better off as a public company…. the sentiment, in a nutshell, was

‘please don’t do this.’” Id.




                                       17
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 24 of 76




     G.    PROCEDURAL HISTORY.

           i.     The District Court Denies Defendants’ Motion to Dismiss.

     By order dated April 15, 2020, the District Court denied

Defendants’ motion to dismiss Plaintiff’s consolidated complaint. 2-ER-

193. In pertinent part, the District Court found that Plaintiff stated a

claim based on the August 7, 2018 tweet: “Am considering taking Tesla

private at $420. Funding secured.” The District Court held: “The

statement could be read by a reasonable investor to mean complete

funding for the transaction was unconditionally secured. So read, the

statement is false.” 2-ER-193 at 22. Responding to Defendants’ argument

that “funding secured” meant only that funding would be “no obstacle”

and the entire tweet was simply a statement of opinion about implicitly

conditional funding, the District Court observed that “the word ‘secured’

implicitly negates any condition”, 2-ER-193 at 23, and then noted:

           Because Mr. Musk, the CEO of Tesla, included the
           highly-specific price of $420 at which shares would
           be bought for the going-private transaction, and
           because his tweet followed with “funding secured,”
           a reasonable investor would have interpreted it as
           something more than a speculative amorphous
           opinion about future possibilities. Instead, it can
           be read as implying a more concrete state of affair.

2-ER-193 at 24. The District Court also denied Defendants motion to

                                       18
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 25 of 76




dismiss Plaintiff’s claim based on the tweet “Investor support is

confirmed. Only reason why this is not certain is that it’s contingent on

a shareholder vote.” 2-ER-193 at 24-25. The District Court also found

that Plaintiff adequately pleaded the other elements of a Rule 10b-5

claim. 2-ER-193 at 29-40.

           ii.    The District Court Awards Partial Summary Judgment to
                  Plaintiff.

     On April 1, 2022, the District Court entered an order granting

partial summary judgment in favor of Plaintiff. 1-ER-66. With regard to

Mr. Musk’s statement “Am considering taking Tesla private at $420.

Funding secured”, the District Court found that “no reasonable jury could

find the statement ‘Funding secured’ accurate and not misleading.” 1-ER-

66 at 24. The District Court then elaborated:

           As indicated above, the Court acknowledges that
           there is some softness to the term “secured.’ But
           even accepting that there is some room for
           disagreement as to precisely how secure
           something must be before the term may be
           appropriately used, the term is not so elastic as to
           escape any real meaning. No reasonable jury could
           find “Funding secured” accurate and not
           misleading even under a liberal understanding of
           the term “secured.”

1-ER-66 at 25. With regard to scienter the District Court found: “a


                                       19
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 26 of 76




reasonable jury could reach only one conclusion – i. e., that Mr. Musk

recklessly tweeted to the public that funding was secured.” 1-ER-66 at

26.

      The District Court reached a similar conclusion regarding Mr.

Musk’s statement that “Investor support is confirmed.” 1-ER-66 at 26-27.

“No reasonable [jury] could conclude that support from the Saudi PIF was

confirmed given the preliminary nature of the discussions between the

PIF and Tesla.” 1-ER-66 at 27. The District Court also noted that Mr.

Musk did not reach out to existing Tesla shareholders to get their views

on taking the company private until after the tweet had been sent. 1-ER-

66 at 26-27. Finally, the District Court found only one possible conclusion

regarding scienter: Mr. Musk made his statement recklessly. 1-ER-66 at

27.

      The District Court also found that no reasonable jury could find the

statement “Only reason why this is not certain is that it’s contingent on

a shareholder vote” accurate and not misleading. 1-ER-66 at 29. This was

because “there were, in fact, a number of contingencies that had to be

addressed before the matter could reach a shareholder vote”. Id. The

District Court found that “the scienter analysis follows the falsity


                                       20
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 27 of 76




analysis. No reasonable jury could find that Mr. Musk did not act

recklessly given his clear knowledge of the discussions that took place at

the 7/31/2018 meeting.” Id.

     Following a motion for reconsideration by Defendants, the Court

clarified that its summary judgment ruling meant: “the statements at

issue were false and made with scienter but the Court left the issue of

whether the statements were material (which also impacts reliance) for

the jury to decide.” 1-ER-64.

     H.    TRIAL.

     Subject to the District Court’s rulings on summary judgment, this

action went to a jury trial held from January 17, 2023 to February 3,

2023. The jury heard eight days of witness testimony, including from Mr.

Musk who testified about the circumstances and his state of mind

surrounding the August 7, 2018 tweets. During trial, the District Court

instructed the jury that “testimony regarding the circumstances and

communications relating to the two tweets by Elon Musk on August 7th,

2018 and Mr. Musk’s state of mind as to those tweets … may be relevant

to other issues on which the plaintiff has the burden of proof, such as

whether Mr. Musk knew the statements were untrue when he made



                                       21
      Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 28 of 76




them….” 2-ER-285-286.

     Plaintiff also presented testimony from two experts regarding the

materiality of Mr. Musk’s August 7, 2018 tweets: Professor Steven

Heston of the University of Maryland and Dr. Hartzmark. Professor

Heston opined, in pertinent part, that shortly after Mr. Musk’s initial

“funding secured” tweet at 12:48 p.m. on August 7, 2018, “there was a

very abrupt movement in [Tesla] option prices … this movement was

unprecedented.” 3-ER-476; 3-ER-480-481. The movement in Tesla stock

option prices was consistent with behavior in stock option prices

following the announcement of a merger or acquisition. 3-ER-478-479; 3-

ER-484-485.

     Dr. Hartzmark testified based on his extensive qualitative analysis

of over 2400 news and analyst articles about Tesla from August 7, 2018

to August 17, 2018 and quantitative analysis, including an event study,

of the minute-by-minute trading data for Tesla stock. 3-ER-488-489. Dr.

Hartzmark opined that the August 7, 2018 tweets had a material impact

on Tesla’s stock price and the price of other securities from August 7,

2018 to August 17, 2018 and, with regard to Mr. Musk’s first August 7,

2018 tweet, the price was impacted by the phrase “funding secured”


                                      22
         Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 29 of 76




rather than the first sentence in the tweet. 3-ER-496-503. Specifically,

Dr. Hartzmark testified that “there is substantial qualitative evidence

which would suggest that the ‘funding secured’ is material to the

market”. 3-ER-514. This testimony was unrebutted by Defendants, who

presented no expert testimony.

        The jury was then instructed. On the issue of scienter, the District

Court provided similar instructions at two instances. When instructing

on the elements of a Rule 10b-5 claim, the District Court instructed the

jury:

              2)    Elon Musk and/or Tesla acted with the
              necessary state of mind (i.e., knowingly or with
              reckless disregard for the truth or falsity of the
              statements);
              …
              You are to assume that the statements “Funding
              secured” and “Investor support is confirmed. Only
              reason why this is not certain is that its contingent
              on a shareholder vote.” were untrue. But you still
              must decide whether these statements were of
              material facts.

              You must also assume Mr. Musk acted with
              reckless disregard for whether the statements
              were true. But you must still decide whether he
              knew that the statements weren’t true.1



        1 Plaintiff objected to this portion of the District Court’s instruction




                                         23
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 30 of 76




1-ER-38 at 7-8; 3-ER-587-588. On scienter, the District Court instructed:

           Plaintiff must prove by a preponderance of the
           evidence that Elon Musk and/or Tesla acted with
           the necessary state of mind, which is known as
           scienter.

           Scienter may be established by showing either:

           1.     The defendant knew his untrue statement
                  was false; or

           2.     The defendant had reckless disregard for
                  whether the statement was true.

           “Reckless” means highly unreasonable conduct
           that is an extreme departure from ordinary care,
           presenting a danger of misleading investors, which
           is either known to the defendant or is so obvious
           that the defendant must have been aware of it.



and proposed the following:

           Before this trial began, the Court decided that the
           statements “Funding secured” and “Investor
           support is confirmed. Only reason why this is not
           certain is that its contingent on a shareholder
           vote.” were untrue. The Court also decided that
           Mr. Musk acted recklessly when making these
           statements. You should treat these elements as
           having been proven by a preponderance of the
           evidence. Therefore, your deliberation is limited to
           whether these untrue statements were material.

7-ER-1462 at 7.


                                       24
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 31 of 76




           You are to assume that Elon Musk made the
           statements “Funding secured” and “Investor
           support is confirmed. Only reason why this is not
           certain is that its contingent on a shareholder
           vote.” with at least reckless disregard for whether
           the statements were true. But you must still
           decide whether Mr. Musk acted knowingly.2

1-ER-38 at 11; 3-ER-590.

     In closing argument, Mr. Musk’s counsel argued extensively that

the statements “Funding secured” and “Investor support is confirmed.

Only reason why this is not certain is that its contingent on a shareholder

vote.” were not material and that Mr. Musk did not act knowingly or

intentionally when he published those tweets on August 7, 2018. 4-ER-




     2 Plaintiff objected to this portion of the District Court’s instruction

and proposed the following:

           Before this trial began, the Court decided that Mr.
           Musk acted at least recklessly when making the
           statements “Funding secured” and “Investor
           support is confirmed. Only reason why this is not
           certain is that its contingent on a shareholder
           vote.” You should therefore treat the element of
           scienter as having been proven by a preponderance
           of the evidence when deciding whether Plaintiff
           has proved his Rule 10b-5 Claim against Mr.
           Musk.

1-ER-28 at 10.
                                       25
        Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 32 of 76




658-659; 4-ER-667; 4-ER-670; 4-ER-672; 4-ER-677; 4-ER-679-680; 4-ER-

686; 4-ER-689; 4-ER-692; 4-ER-695; 4-ER-699; 4-ER-711-712; 4-ER-717-

718.

       After deliberating, the jury returned a general verdict in favor of

Defendants. 1-ER-28. By order dated June 14, 2023, the District Court

denied Plaintiff’s renewed motion for judgment as a matter of law on the

issue of materiality as well as a request for a new trial. 1-ER-3. Judgment

was entered on July 11, 2023 and this appeal was filed July 14, 2023. 1-

ER-2; 7-ER-1477.

                       SUMMARY OF ARGUMENT

       The District Court made two errors that require reversal of its

judgment in favor of Defendants. First, the District Court erred in its jury

instructions on the element of scienter. It is well-established that the

element of scienter for a claim under Rule 10b-5 may be met by showing

either that defendants acted knowingly or “were reckless as to the truth

or falsity of their statements.” Gebhardt v. SEC, 595 F.3d 1034, 1041 (9th

Cir. 2010). By instructing the jury that, despite assuming that Mr. Musk

acted with “reckless disregard” for whether his August 7, 2018 tweets

were true, it still needed to “decide whether he knew that the statements


                                        26
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 33 of 76




were untrue” or “acted knowingly”, the District Court misstated the legal

standard for scienter, a crucial element of Plaintiff’s claim.

     The jury instruction appears to require Plaintiff to prove not just

that Mr. Musk acted recklessly when he published the August 7, 2018

tweets, something on which Plaintiff had already obtained summary

judgment, but also prove knowledge. This is contrary to the well-

established law that scienter may be established by proving either

recklessness or knowledge. At a minimum, the jury instruction created

sufficient confusion as to the appropriate scienter standard that it was

impossible for a reasonable juror to understand it correctly.

     A jury instruction that misstates the law requires reversal and a

new trial unless the error is harmless. An erroneous jury instruction on

a necessary element of Plaintiff’s claim, especially one that seems to

increase Plaintiff’s burden beyond what the law requires, is plainly

prejudicial and not harmless. Accordingly, reversal and a new trial is

required.

     The second error by the District Court was the denial of Plaintiff’s

motion for judgment as a matter of law on the issue of materiality. A

district court should enter judgment as a matter of law “when it is clear


                                       27
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 34 of 76




that the evidence and its inferences cannot reasonably support a

judgment in favor of the opposing party.” Weaving v. City of Hillsboro,

763 F.3d 1106, 1111 (9th Cir. 2014) A motion for judgment as a matter

of law should be denied only where there is “substantial evidence” to

support a verdict in favor of the non-movant. Chisholm Bros. Farm

Equip. Co. v. Int’l Harvester Co., 498 F.2d 1137, 1140 (9th Cir. 1974)

     On the issue of materiality, Plaintiff presented extensive evidence

supporting the materiality of both August 7, 2018 tweets. A statement is

material if there is a substantial likelihood that it would have been

viewed by a reasonable investor as having “significantly altered the ‘total

mix’ of information made available.” TSC Industries, Inc. v. Northway,

Inc., 426 U.S. 438, 449 (1976) Here, Plaintiff presented quantitative,

statistical evidence of an immediate, statistically significant, impact of

both tweets on the prices of Tesla’s securities as well as qualitative

evidence of the importance of the tweets from investors, analysts,

internal Tesla communications, NASDAQ, and the SEC. The vast

majority of the evidence was unrebutted by Defendants. They did not

present an expert to offer an alternative analysis of the market data and

no witness testified that either tweet was immaterial.


                                       28
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 35 of 76




     This Court has observed that the materiality of statements

regarding certain fundamental corporate subjects “is not subject to

serious challenge.” SEC v. Murphy, 626 F.2d 633, 653 (9th Cir. 1980).

Similarly, the materiality of statements regarding the funding and

investor support for a potentially $60 billion transaction should also not

be subject to serious challenge. In any event, the substantial evidence

introduced by Plaintiff at trial permits only one conclusion: that Mr.

Musk’s August 7, 2018 tweets were material. Accordingly, judgment as a

matter of law should have been entered in favor of Plaintiff on this issue

and not submitted to the jury.

     Based on the instructions given by the District Court, the jury was

required to return a verdict in Defendants’ favor if it determined that

either Mr. Musk did not act knowingly (which is contrary to the law) or

that the August 7, 2018 tweets were not material (which is contrary to

the evidence). Thus, neither of these errors qualify as harmless. This

Court should reverse and remand for a new trial.




                                       29
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 36 of 76




                                ARGUMENT

I.   JURY INSTRUCTIONS                  WERE        ERRONEOUS            WHICH
     REQUIRES REVERSAL.

     A.    Standard of Review

     A district court’s formulation of the jury instructions is reviewed for

abuse of discretion. Jury instructions that are claimed to misstate the

law are reviewed de novo. Gantt v. City of Los Angeles, 717 F.3d 702, 706

(9th Cir. 2013). Plaintiff argues that the jury instructions given in this

case misstated the law.

     B.    An Error in Civil Jury Instructions Requires Reversal
           Unless the Error is Harmless.

     Jury instructions must correctly state the law and must not be

misleading. Dang v. Cross, 422 F.3d 800, 804 (9th Cir. 2005). “An error

in instructing the jury in a civil case requires reversal unless the error is

more probably than not harmless.” Clem v. Lomeli, 566 F.3d 1177, 1182

(9th Cir. 2009). The burden shifts to the defendant to demonstrate that

“it is more probable than not that the jury would have reached the same

verdict had it been properly instructed.” Id.

     C.    The Jury Instructions Misstated the Law Regarding Scienter
           Which is Prejudicial and Requires Reversal.

     It is well-established that the element of scienter for a claim under


                                       30
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 37 of 76




Rule 10b-5 may be met by showing that defendants acted knowingly or

“were reckless as to the truth or falsity of their statements.” Gebhard,

595 F.3d at 1041; see also United States v. Tarallo, 380 F.3d 1174, 1188-

89 (9th Cir. 2004). This is reflected in the Ninth Circuit Model Civil Jury

Instructions 18.5. The District Court here, however, instructed the jury

during trial and in closing instructions that Plaintiff had the burden to

prove that Mr. Musk acted knowingly when he published his tweets on

August 7, 2018. This misstates the law.

     On the third day of trial, the District Court reacted to testimony

that had been received the prior day and gave a cautionary instruction.

It instructed the jury that “testimony regarding the circumstances and

communications relating to the two tweets by Elon Musk on August 7th,

2018 and Mr. Musk’s state of mind as to those tweets … may be relevant

to other issues on which the plaintiff has the burden of proof, such as

whether Mr. Musk knew the statements were untrue when he made

them….”

     Following the close of evidence, and over Plaintiff’s objection, the

District Court again instructed the jury and twice addressed the issue of

scienter. The first time, it stated: “You must also assume Mr. Musk acted


                                       31
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 38 of 76




with reckless disregard for whether the statements were true. But you

must still decide whether he knew that the statements weren’t true.” The

second time it stated:

           You are to assume that Elon Musk made the
           statements “Funding secured” and “Investor
           support is confirmed. Only reason why this is not
           certain is that its contingent on a shareholder
           vote.” with at least reckless disregard for whether
           the statements were true. But you must still
           decide whether Mr. Musk acted knowingly.

     All three of these instructions misstate the law. As the District

Court had granted summary judgment for Plaintiff and against Mr.

Musk on the element of scienter, Plaintiff had no burden at trial to prove

anything regarding Mr. Musk’s state of mind. The District Court had

determined that no reasonable juror could find that Mr. Musk did not act

with sufficient recklessness to establish scienter when he published his

August 7, 2018 tweets. Plaintiff, therefore, had no burden to prove that

Mr. Musk acted knowingly. Even if Plaintiff had not won summary

judgment on this element, he would still have had the option to establish

scienter through proof of recklessness as opposed to knowledge. The

District Court’s instructions thus placed an improperly high burden on




                                       32
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 39 of 76




Plaintiff beyond that required by the law.3

     Each closing instruction was preceded by a statement that scienter

could be established by showing that Elon Musk acted either knowingly

or with reckless disregard for the truth or falsity of his statement and

that the jury was to assume he acted recklessly. This, however, does not

overcome the problematic instructions which instruct very clearly that

the jury “must still decide whether Mr. Musk acted knowingly”. At best,

it creates a confusing instruction which is impossible for a reasonable

juror to understand. The jury was instructed that scienter could be

established by either recklessness or knowledge, to assume recklessness,

but then instructed to consider knowledge. To the extent this finding on

knowledge was to be considered on the question of apportionment, this

instruction should have been given with the remaining instructions on

apportionment, not included with the scienter instructions.

     Any juror confusion on this element of Plaintiff’s claims was

exacerbated by Defendants’ counsel arguing the issue of Mr. Musk’s lack




     3 The issue of knowledge is relevant on the issue of apportionment

under § 21D(f) of the Securities Exchange Act, 15 U.S.C. § 78u-4(f).
Plaintiff does not bear the burden of proving knowledge for purpose of
apportionment however.
                                       33
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 40 of 76




of intent or knowledge as exculpatory in his closing arguments. For

instance, counsel argued “in that moment, Mr. Musk did not form some

intention to deceive. [Plaintiffs] know, in that rushed state, it led to

imperfect word choices.” 4-ER-667; see also 4-ER-670 (referring to Mr.

Musk’s “fog of war”); 4-ER-672 (Mr. Musk “doesn’t think ahead of time in

that rushed moment”). The misleading and confusing instruction on

scienter is so fundamental that it cannot be deemed harmless, especially

as the jury returned a general verdict form with no indication what

element they determined Plaintiff had failed to meet his burden.

     In Gantt, this Court reversed a jury verdict after a confusing and

misleading jury instruction on the state of mind requirement for culpable

due process violations by a police officer. 717 F.3d at 708. Because the

instructions misstated the state of mind requirement so that the jury was

confused and misled over the proper standard, the instructions were

erroneous. Id. As plaintiff’s claims had sufficient evidentiary support to

be presented to the jury and survive a motion for judgment as a matter

of law, the error could not be deemed harmless. Id. at 709. The action was

reversed and remanded for a new trial. Id.

     Similarly, in Erickson Products., Inc. v. Kast, this Court reversed a


                                       34
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 41 of 76




jury verdict following an erroneous instruction confusing the mental

states of willfulness and negligence. Erickson Prods., Inc. v. Kast, 921

F.3d 822, 834–35 (9th Cir. 2019). The erroneous willfulness instruction

was likely prejudicial to Kast. “While the evidence may have established

that Kast was negligent, it is much less clear that it established

recklessness, willful blindness, or actual knowledge…. If the jury had

been properly instructed, it might well have refused to find Kast willful

on this record. Id.

      Accordingly, error by the District Court in instructing the jury on

the element of scienter in this case was likely prejudicial to Plaintiff and

cannot be deemed harmless. Accordingly, the judgment must be reversed

and remanded for a new trial.

II.   THE DISTRICT COURT COMMITTED REVERSIBLE
      ERROR BY DENYING PLAINTIFF’S MOTION FOR
      JUDGMENT AS A MATTER OF LAW ON MATERIALITY
      AND PERMITTING THAT ISSUE TO BE DECIDED BY THE
      JURY.

      A. Standard of Review.

      Denial of a motion for judgment as a matter of law at trial is

reviewed de novo. Weaving, 763 F.3d at 1111.




                                       35
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 42 of 76




     B.    Judgment as a Matter of Law Should Be Entered on a
           Claim or Issue When the Evidence at Trial Permits
           Only One Conclusion Based on Substantial Evidence.

     The Court should enter judgment as a matter of law “when it is

clear that the evidence and its inferences cannot reasonably support a

judgment in favor of the opposing party.” Weaving, 763 F.3d at 1111

(internal quotation marks and citation omitted); see also Fed. R. Civ. P.

50(a)-(b). The “standard is whether or not, viewing the evidence as a

whole, there is substantial evidence present that could support a finding,

by reasonable jurors, for the nonmoving party.” Chisholm, 498 F.2d at

1140 (emphasis added).

     “Substantial evidence is such relevant evidence as reasonable

minds might accept as adequate to support a conclusion even if it is

possible to draw two inconsistent conclusions from the evidence.” Landes

Constr. Co. v. Royal Bank of Can., 833 F.2d 1365, 1371 (9th Cir.1987). “It

is error to deny a judgment [as a matter of law] when it is clear that the

evidence and its inferences cannot reasonably support a judgment in

favor of the opposing party.” Erickson v. Pierce Cnty., 960 F.2d 801, 804

(9th Cir.1992). Thus, the Court should enter judgment as a matter of law

when the evidence presented at trial permits “only one reasonable



                                       36
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 43 of 76




conclusion,” Peralta v. Dillard, 744 F.3d 1076, 1085 (9th Cir. 2014), and

“the conclusion is contrary to that reached by the jury.” Lakeside-Scott v.

Multnomah Cnty., 556 F.3d 797, 802 (9th Cir. 2009) (internal quotation

marks and citation omitted).

     Judgment as a matter of law is also “appropriate when the jury

could have relied only on speculation to reach its verdict.” Id. at 803

(emphasis added). The existence of a “mere scintilla” of evidence “is not

enough to sustain a verdict.” Lakeside-Scott, 556 F.3d at 802; Janich

Bros., Inc. v. Am. Distilling Co., 570 F.2d 848, 853 n.2 (9th Cir. 1977).

     C.    Mr. Musk’s August 7, 2018 Tweets Were Material
           Because There Was a Substantial Likelihood That a
           Reasonable Shareholder Would Consider Them
           Important.

     Information is “material” when there is a “substantial likelihood

that a reasonable shareholder would consider it important.” TSC

Industries, 426 U.S. at 449 (“Put another way, there must be a

substantial likelihood that the disclosure of the omitted fact would have

been viewed by the reasonable investor as having significantly altered

the ‘total mix’ of information made available.” This is an objective test,

assessing the significance of a piece of information to a “reasonable

investor.” Id. at 445; accord Amgen Inc. v. Connecticut Ret. Plans & Tr.

                                       37
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 44 of 76




Funds, 568 U.S. 455, 467 (2013) (noting materiality is an objective test).

Materiality is assessed “at the time of the [statement].” Miller v. Thane

Int'l, Inc., 519 F.3d 879, 892 (9th Cir. 2008).

     This Court has observed that “surely, the materiality of information

relating to financial condition, solvency and profitability is not subject to

serious challenge.” Murphy, 626 F.2d at 653; see also SEC v. Todd, 642

F.3d 1207, 1221 (9th Cir. 2011)(“Information regarding a company's

financial condition is material to investment.”). Similarly, the materiality

of statements regarding the funding and investor support for a

potentially $60 billion transaction should also not be subject to serious

challenge. In any event, the substantial evidence introduced at trial

permits only one conclusion: that Mr. Musk’s August 7, 2018 tweets were

material.

            i.    “Funding secured” Was Important to Reasonable Investors.

     The evidence that the statement “funding secured” was material

came from multiple sources, including Mr. Musk himself, other Tesla

witnesses, investors and analysts, and finally from expert testimony.

     Mr. Musk intended Tesla investors to rely on his “funding secured”

tweet and expected a stock price increase. Mr. Musk testified that he


                                       38
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 45 of 76




intended his August 7, 2018 tweets to reach his “millions of followers,”

that his tweets affected the price of Tesla’s stock, and that information

about Tesla in his tweets was “information that [Mr. Musk] think[s] the

public should hear.” 2-ER-318-322. Further, Mr. Musk admitted that

“funding secured” was one of the three central pieces of information he

sought to disclose to the market on August 7, 2018 and intentionally did

so for the purpose of “communicat[ing] this to all investors of Tesla” and

“wanted them to rely on this tweet . . . in making their decisions about

buying or selling Tesla securities.” 2-ER-335-336.

     Mr. Musk even admitted that he expected “there would be some

increase” in the price of Tesla’s stock in response to his tweet. 2-ER-337.

Moreover, Mr. Musk acknowledged that news of his funding to take Tesla

private was “material non-public information.” 2-ER-329. He also

acknowledged that this information should not have been disclosed

during market hours because “you would not disclose important

information during a trading day.” 2-ER-334. Indeed, the disruption

caused by the “funding secured” tweets led to NASDAQ halting trading

in Tesla shares on the afternoon of August 7. 2-ER-339. Mr. Ahuja also

acknowledged that Mr. Musk’s initial August 7, 2018 tweet was material


                                       39
        Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 46 of 76




information. 3-ER-404-405.

       Investors testified that the statement “funding secured” was

important to them. Plaintiff Glen Littleton testified that “funding

secured” was the “primary driver,” the “only thing that mattered,” and

the “most important” part of the August 7, 2018 tweet. 2-ER-269; 2-ER-

274; 2-ER-275; 2-ER-279; 2-ER-281. In response to the tweet, Mr.

Littleton began selling the securities he owned because he realized the

impact of the tweet “was going to pretty much wipe me out.” 2-ER-269-

271.

       Tim Fries testified similarly to Mr. Littleton that he relied on the

“funding secured” tweet when deciding to invest in Tesla. Mr. Fries

testified that he had been looking for a “good entry point” into Tesla for

some time when, on August 7, 2018, he saw the tweet on CNBC and

decided to invest. 2-ER-287-289. “The phrase ‘funding secured’ in that

tweet was critical. Funding secured gave me the confidence that I could

get in and – at that 420 price. . . . .” 2-ER-289.

       Owuraka Koney from Jennison Associates, which was a significant

investor in Tesla in 2018, also placed importance on the statement

“funding secured”. After reading Mr. Musk’s email to Tesla employees


                                        40
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 47 of 76




published later on August 7, 2018, Mr. Koney wrote to Mr. Viecha at

Tesla: “Nothing on funding, though?” Mr. Viecha responded: “The very

first tweet simply mentioned ‘Funding secured’ which means that that is

a firm offer. . . . I would assume that given we went full-on public with

this, the offer is as firm as it gets.” 2-ER-385; 2-ER-387; 4-ER-777. Mr.

Koney testified that it was important to him that the CEO of Tesla had

said that funding was secured publicly. 6-ER-1310 at 30. Mr. Viecha

fielded enquires from “many investors” about Mr. Musk’s statement

“funding secured”. 2-ER-394; 4-ER-805; 4-ER-807; 4-ER-810; 4-ER-812;

4-ER-814; 4-ER-817.

     Financial analysts attached significance to the statement “funding

secured”. Inquiries also came from well-known analysts following Tesla.

Itay Michaeli from Citi asked, “The employee letter didn’t make clear

whether there is an actual transaction on the table (with secured

financing) or if this is more of a strategic announcement to consider

pursuing such transaction.” 2-ER-379; 4-ER-807. In response to Mr.

Michaeli’s question, Mr. Viecha writes: “The very first tweet mentioned

a firm offer.” 2-ER-380.

     Mr. Viecha made a similar response to Bradley Erickson from


                                       41
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 48 of 76




KeyBank. Mr. Erickson wrote: “He said financing is secured but in the

letter he doesn’t address this. Can you clarify?” Mr. Viecha responded: “I

can only say that the first tweet clearly stated that ‘financing is secured.’

Yes, there is a firm offer.” 2-ER-383-384; 4-ER-812. Mr. Viecha also

received questions from Toni Sacconaghi from Bernstein Alliance. Mr.

Sacconaghi asked: “What does ‘Financing secured’ actually mean? Are

you assuming Tesla will need 60 billion plus in financing, or assuming

that many shareholders don’t take the offer and Tesla needs less? Big

difference. ‘Financing secured’ implies the former.” Mr. Viecha responded

unequivocally, “It means that financing is secured regardless of other

assumptions.” 2-ER-389-391; 4-ER-814.

     Analysts did more than just ask Mr. Viecha questions. In response

to Mr. Musk’s August 7, 2018 tweets, Mr. Brinkman, the J.P. Morgan

analyst, increased his price target “very materially” from $195 to $308.

6-ER-1084 at 38-42; 4-ER-738. In his note announcing the increase, Mr.

Brinkman provided reasons for increasing his price target and stated

“Either funding is secured or it is not secured, and Tesla CEO says

funding is secured.” 4-ER-738.




                                       42
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 49 of 76




     Regulators regarded the “funding secured” tweet as important.

NASDAQ regarded the statement “funding secured” and the market

reaction that followed to be sufficiently important that it halted trading

in Tesla stock from 2:08 p.m. to 3:45 p.m. on August 7, 2018. 3-ER-497-

498. By the afternoon of August 7, 2018, Tesla had already received an

enquiry from the SEC. Mr. Ahuja emailed Mr. Musk stating: “We are

getting a lot of enquiries from investors, SEC and the media to better

understand the comment ‘Funding secured.’” 2-ER-342-343; 5-ER-1052.

     Unrebutted expert testimony that the tweet was material. Dr.

Hartzmark provided qualitative and quantitative analysis of the

market’s reaction to the “funding secured” tweet. Following the tweet, he

observed an “immediate[] . . . spike in volume” and “spike in the price.”

3-ER-491. He testified that he performed a statistical study referred to

as a “regression” analysis and confirmed with 95% confidence that Tesla’s

stock price moved in response to the tweet (and not from unrelated

market factors). 3-ER-498-499. The materiality of the tweets also

impacted stock options and convertible notes. 3-ER-501. Professor

Heston also opined that shortly after Mr. Musk’s initial “funding secured”

tweet at 12:48 p.m. on August 7, 2018, “there was a very abrupt


                                       43
      Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 50 of 76




movement in [Tesla] option prices … this movement was unprecedented.”

3-ER-476; 3-ER-480-481.

     Qualitatively, the evidence also established without a doubt that

the tweets were material. Dr. Hartzmark relied on news reports,

including CNBC, as well as internal emails and analyst reports and

emails. 3-ER-502-506. These materials each focused on the import of

“funding secured” and demonstrated how the market responded to those

two words. CNBC highlighted the announcement within a couple of hours

while other analysts attempted to elicit further information from Tesla

as to what Musk meant (i.e., whether an offer had been received or a

written commitment had been given). As Mr. Brinkman said, “As

surprising to us as these developments are, and as lacking as the

statements are in any details regarding who is expected to provide the

required amount of financing and on what terms, they are nevertheless

declarative statements from the CEO of a public company which we feel

should be considered seriously. Either funding is secured or it is not

secured, and Tesla’s CEO says funding is secured.” 4-ER-738. As

explained by Dr. Hartzmark, J.P. Morgan’s report was especially

meaningful because it materially increased the bank’s “price target” for


                                      44
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 51 of 76




Tesla stock, which required approval at senior levels. 3-ER-508-510. For

Dr. Hartzmark "materiality from an economic perspective” is when “a

mix of information change that would motivate buyers and sellers to take

action.” The ‘funding secured’ tweet is “material information because

investors [were] interested in it.” 3-ER-506.

     Dr. Hartzmark clearly confirmed that “[b]ased on all the

information I’ve shown you from analysts, internal documents, price

factors, volume factors, implied volatility, the convertible bonds all

suggest that the tweets are material” and that “there is substantial

qualitative evidence which would suggest that the ‘funding secured’ is

material to the market.” 3-ER-513-514. Notably, the qualitative

evidence considered by Dr. Hartzmark included evidence that Mr.

Musk’s interest in taking Tesla private was already publicly known by

August 2018 and that any go-private transaction would involve a

premium on Tesla’s then-market price. 3-ER-556-558; 3-ER-573-575; 4-

ER-768. This qualitative analysis enabled Dr. Hartzmark to identify

“funding secured” as the material information in Mr. Musk’s first August

7, 2018 tweet. 3-ER-535-536.




                                       45
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 52 of 76




     No witness testified that “funding secured” was immaterial. No

witness testified that the statement “funding secured”, either taken in

isolation or read in the context of the entire tweet, was immaterial or

unimportant to Tesla investors. Defendants presented no expert witness.

           ii.    “Investor support is confirmed” Was Important to
                  Reasonable Investors.

     Similarly to “funding secured”, multiple witnesses provided

evidence that “investor support is confirmed” was important to Tesla

investors without any contradictory evidence.

     Like his initial tweet on August 7, 2018, Mr. Musk intended his last

tweet “Investor support is confirmed . . . .” to be read by investors. 2-ER-

357. As with “funding secured”, Mr. Viecha also received numerous

questions about the “Investor support is confirmed…” tweet. 3-ER-423

(Viecha Test. at p.1278).

     Joseph Fath, a Vice President at T. Rowe Price whose fund had a

significant investment in Tesla in August 2018, confirmed that “investor

support is confirmed” was important to him in understanding the status

of the proposed go-private transaction. In response to a question as to

what it meant, Mr. Fath responded: “Well, with the funding secured

Tweet followed by this, that he had it lined up, whatever investors that

                                       46
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 53 of 76




may be, to support the transaction and be able to take them private. That

was my, you know - - and again, I think it just reinforced the funding

secured.” 6-ER-1167 at 32-33. Similarly, Mr. Brinkman testified that the

“investor support” tweet was an “important source” for his note as it was

“completing in my mind the questions that I had” following the “funding

secured” tweet. 6-ER-1084 at 30-33.

     Dr. Hartzmark also confirmed that “Investor support is confirmed

. . .” was material to reasonable Tesla investors. Dr. Hartzmark testified

that the “qualitative information . . . suggests it's information that is

important to the mix of information investors act[ed] on.” 3-ER-514.

When asked further, Dr. Hartzmark testified that “I’ve gone through

and looked at these dates, looked at the movements in implied volatility

and prices, it would suggest that, you know, that ‘investor support

confirmed’ and ‘funding secured’ are very important pieces of

information. And, again, the reason is that we see that the investors

were interested in it. That's the quintessential definition for economic

materiality.” 3-ER-536. Dr. Hartzmark explicitly identified a substantial

spike in response to the “Investor support is confirmed . . .” tweet once

trading resumed on NASDAQ after the trading halt. 3-ER-536. Nine


                                       47
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 54 of 76




minutes after the “Investor support is confirmed…” tweet, “at 3:45 p.m.

when trading resumes, again, as you would expect in an efficient market,

the price immediately spikes up.” Id.

     As with “funding secured”, there was no testimony from any

witness that the statement “Investor support is confirmed…” was

immaterial or unimportant to Tesla investors. There was no expert

testimony on behalf of Defendants.

     In sum, Plaintiff presented substantial fact and expert evidence

that the statements “funding secured” and “investor support is

confirmed” were important to reasonable Tesla investors and, therefore,

material under TSC. Defendants presented no evidence to the contrary.

     Accordingly, the District Court should have granted Plaintiff’s

motions for judgment as a matter of law on this question of materiality.

In denying the motion, The District Court relied on the fact that Tesla’s

stock price rose slightly after the August 13, 2018 blogpost. 1-ER-3 at 14.

According to the District Court, this “arguably creates the inference that

the stock price reaction to the tweets on August 7 stemmed from the

market reaction to Mr. Musk contemplating [taking] Tesla private at

$420 per share and not to statements that funding was secured or


                                       48
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 55 of 76




investor support was confirmed.” Id. Later in its order, the District Court

identifies this as “Defendants’ argument” without any record citation. Id.

at 15. This “arguable inference” or “Defendants’ argument” does not

amount to the “substantial evidence” required to deny a motion for

judgment as a matter of law. Chisholm, 498 F.2d at 1140. Indeed, it is

precisely the “mere scintilla” of evidence and “speculation” that is

insufficient to deny such a motion. Lakeside-Scott, 556 F.3d at 802-03.

     Furthermore, this “arguable inference” is properly described as

“argument” as it is not supported by the evidence as introduced at trial.

The qualitative analysis undertaken by Dr. Hartzmark shows that

investors were interested in “funding secured” and “investor support” as

demonstrated by Mr. Brinkman’s analyst report, the email enquiries

received by Mr. Viecha, and the SEC enquiry received by Mr. Ahuja.

There was no testimony explaining how such direct evidence of

materiality should be discarded based on a statistically insignificant

price movement on a single day six days after the statements were made.

It also ignores evidence that even after the August 13, 2018 blogpost,

analysts still regarded the confirmation of investor support given by Elon

Musk on August 7, 2018 as important, material information. 3-ER-526-


                                       49
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 56 of 76




528; 5-ER-1057.

     Indeed, to support such an “arguable inference,” the August 13,

2018 blogpost would have to be complete corrective disclosure of both the

“funding secured” and “Investor support is confirmed…” tweets, yet that

is obviously not the case. As Dr. Hartzmark explained, his analysis of the

implied volatility for Tesla stock options as well as ongoing discussion

regarding investor support and funding for a go-private transaction after

August 13, 2018 shows that investors and the market were still being

misled by the August 7, 2018 tweets. 3-ER-526-527; 3-ER-561-563.

Implied volatility for Tesla stock options did not return to pre-August 7,

2018 levels until August 17, 2018, after the New York Times article. 3-

ER-536-537. Notably, Mr. Brinkman did not revise his price target and

issue a report discounting the August 7, 2018 tweets until August 20,

2018 and in response o the New York Times article, not the August 13,

2018 blog post. 6-ER-1084 at 59-69; 4-ER-753.             Indeed, as Professor

Subramanian testified, to be a fully corrective disclosure, the August 13,

2018 blogpost would have to explicitly state that funding was not yet

secured and the August 7, 2018 tweet had been untrue. 2-ER-316. The

August 13, 2018 blog post quite obviously did not do this.


                                       50
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 57 of 76




     Thus, in opposition to the mountain of documents, testimony, and

expert analysis presented by Plaintiff all demonstrating the materiality

of both August 7, 2018 tweets, the District Court simply cites a single

inconclusive data point. This is insufficient under this Court’s precedent

such as Weaving, 763 F.3d at 111, and, accordingly, the order denying

Plaintiff’s motion on this issue should be reversed.

     D.    Mr. Musk’s Tweets Also Gave a Reasonable Investor The
           Impression of a State of Affairs That Differs in a Material Way
           From the One That Actually Exists.

     The District Court also denied Plaintiff’s motion for entry of

judgment on the issue of materiality on the basis that “the actual state

of affairs did not differ from the term ‘funding secured’ in a way that

would be significant to the reasonable investor” and that the tweet

“Investor support is confirmed...” was not “materially false”. 1-ER-3 at 13

(emphasis in original). In doing so, the District Court applied a definition

of actionable misrepresentation as a statement that “gives a reasonable

investor the impression of a state of affairs that differs in a material way

from the one that actually exists.” 1-ER-3 at 12 (citing TSC Industries,

426 U.S. at 449. This is identical to the test for falsity that the District

Court applied to Mr. Musk’s August 7, 2018 tweets when considering



                                       51
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 58 of 76




Plaintiff’s motion for summary judgment on that issue. 1-ER-66 at 21. In

its order granting Plaintiff’s motion, the District Court stated:

           Based on the evidence of record, the Court finds
           that no reasonable jury could find the statement
           “Funding secured” accurate and not misleading.
           The evidence of record shows that here was
           nothing concrete about funding coming from he
           PIF; rather, discussions between Tesla and the
           PIF were clearly at the preliminary stage. There
           had been no discussion about what the purchase
           price would be for a share of stock. Nor had there
           been any discussion about what percentage of the
           company the PIF would own or the total amount of
           money the PIF would contribute.

1-ER-66 at 24. The evidence introduced at trial on this issue was

indistinguishable from the record on summary judgment. At summary

judgment, the District Court reached a similar conclusion regarding Mr.

Musk’s statement that “Investor support is confirmed.” 1-ER-66 at 26-27.

“No reasonable [jury] could conclude that support from the Saudi PIF was

confirmed given the preliminary nature of the discussions between the

PIF and Tesla.” 1-ER-66 at 27. The District Court also noted that Mr.

Musk did not reach out to existing Tesla shareholders to get their views

on taking the company private until after the tweet had been sent. 1-ER-

66 at 26-27.

     Thus, it is unclear the precise legal standards the District Court

                                       52
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 59 of 76




applied at summary judgment and at trial to essentially the same

evidentiary record yet reaching opposite conclusions. The trial record,

however, shows that the District Court’s conclusions at summary

judgment were correct and no reasonable jury could conclude that

funding was secured or investor support confirmed.

            i.    The Statement “Funding Secured” Differed in a
                  Material Way From the Actual State of Affairs.

      As set forth above, analysts and investors understood the statement

“Funding secured” to indicate a firm, unconditional commitment of

funding. Mr. Viecha told analysts that “the first Tweet clearly stated that

‘financing is secured.’ Yes, there is a firm offer”, 4-ER-812; “the offer is as

firm as it gets”, 4-ER-777; and that “financing is secured regardless of

other assumptions”, 4-ER-814. Mr. Brinkman, JP Morgan’s analyst,

concluded that “Either funding is secured or it is not secured, and Tesla’s

CEO says funding is secured.” 4-ER-738. Mr. Fath understood “Funding

secured” to mean “To have locked and loaded and no question at all a

hundred percent that you have funding ready to go and you’re prepared

to move forward with the transaction.” 6-ER-1167 at 20.

      This was consistent with the practice of Mr. Durban, who

specializes in go-private transactions, as well as the academic studies by

                                       53
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 60 of 76




Professor Subramanian. Both agree that funding is usually committed

before any potential go-private transaction is publicly announced. 2-ER-

308; 3-ER-445-448.

     No offer for funding had been discussed, extended, or agreed as of

August 7, 2018, the date of the tweet, or at any point thereafter. Every

witness at trial was consistent on this point, including Mr. Musk, 2-ER-

329, and Mr. Ahuja, 3-ER-400-401. Mr. Musk had only a preliminary

conversation with the Saudi PIF on July 31, 2018. 4-ER-779. This

meeting is notable for what did not occur: price was not discussed,

structure was not discussed, percentage of ownership by the Saudi PIF

was not discussed, and regulatory approvals were not discussed. 4-ER-

779; 4-ER-790. Musk did not even intend to use the Saudi PIF to fund all

or even a majority of any going private transaction. 3-ER-438; 3-ER-450.

Yet this was the only potential source of funding that Musk had spoken

to before tweeting out that funding was “secured”. Musk knew this.

     Not only was the funding not secured or committed, the total

amount of funding needed was actually unknowable on August 7, 2018

because it depended on the number of Tesla shareholders who were

willing and able to roll their share ownership into a private Tesla. 2-ER-


                                       54
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 61 of 76




356 at p. 933; 3-ER-420 at p. 1266. Thus, Mr. Musk publicly stated he

had secured funding for a go-private transaction without discussing

share price, agreeing on a structure, or even being able to know how

much funding was needed. Estimates by Goldman Sachs of potential

funding varied by billions of dollars. 5-ER-1027.

     The events and conversations transpiring after the July 31, 2018

meeting with the Saudi PIF underscore Plaintiff’s point on this issue. On

August 10, 2018, three days after the tweet, Silver Lake Partners told

Mr. Musk that arranging “committed financing” was the first step in the

going private transaction process, meaning that it had yet to be done. 5-

ER-906 at 29. Meanwhile, that same day, Mr. Al-Rumayyan on behalf of

the Saudi PIF sent Mr. Musk a text expressing interest in “explor[ing] a

potential transaction,” demonstrating the preliminary posture of their

discussions. 4-ER-790 at 8. On August 12, 2018, two days later, Mr. Al-

Rumayyan texted Mr. Musk to once again ask for his financial

calculations on the transaction, saying “Let’s see the numbers and get

our people to meet and discuss. We cannot approve something that we

don’t have sufficient information on.” 4-ER-790 at 11. Nothing had been

approved by the Saudi PIF as of August 12, 2018 and, therefore, nothing


                                       55
        Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 62 of 76




could have possibly been approved by the Saudi PIF almost a week

earlier on August 7, 2018. If the Saudi PIF did not have enough

information on August 12, 2018 and had not approved any funding as of

that time, there can be no dispute that it had not agreed to provide

funding on August 7, 2018.

       The ongoing efforts by Silver Lake and Goldman Sachs to raise

funding from August 10, 2018 to August 23, 2018 further refute any idea

that funding was even close to being secured. Such an exercise would

have been completely futile if funding was already secured. Mr. Durban

testified that after his August 10, 2018 meeting with Mr. Musk, he spent

the next two weeks trying to raise funding. 3-ER-432. When he had his

first in-person meeting with Elon Musk on August 10, 2018, he testified

that the potential going-private transaction for Tesla was not even yet

at “Stage 1” of a typical going-private transaction. 3-ER-435-436; 5-ER-

906.

       Mr. Durban then testified that as of August 23, 2018, there still

was not “any committed financing for any going-private transaction.” 3-

ER-443. He said that “the full price” and “the amount of capital” needed

for taking Tesla private had still not yet been decided as of August 23,


                                        56
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 63 of 76




2018. 3-ER-443-444. In fact, Mr. Durban confirmed that neither the

“structure,” “total amount of capital,” “price,” nor “the percentage of

shareholders who would roll into a private Tesla” was ever finalized. Id.

at 1373:2-16. Indeed, due to these factors, a “formal proposal” was never

sent to the board, and as of August 23, 2018, “there was still substantial

uncertainties as to whether a going-private transaction could proceed.”

3-ER-443; 3-ER-446; 5-ER-906; 5-ER-955. Silver Lake and Goldman

Sachs were just beginning to reach out to potential investors to gauge

their interest, including the Saudi PIF. 5-ER-954.

     Mr. Dees gave similar testimony. As of August 15, 2018, Mr. Dees

said that they “were looking to obtain documentation confirming

financing from those investors” and they had not “collected any signed

commitment documents from any potential investor in a going-private

transaction for Tesla.” 3-ER-457. In fact, Mr. Dees indicated that as of

August 16, 2018, Goldman Sachs, along with Silver Lake, were still

“trying to develop a fully financed proposal.” 3-ER-458.

     While Mr. Durban and Mr. Dees both advised the Tesla Board their

belief that funding for a Tesla go-private transaction was “available”,

both agreed that this was very different from having funding committed.


                                       57
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 64 of 76




Mr. Durban differentiated between an interest in doing a transaction

and a commitment to financing one. 3-ER-447. He testified: “an interest

is an expression of interest. A commitment is a signed legal document

committing you to wire money.” Mr. Dees also acknowledged that there

was a difference between “funding being available and funding being

committed.” 3-ER-464.

     Presented by a near-identical record, the District Court granted

Plaintiff’s motion for summary judgment holding that no reasonable

juror could find the statement “funding secured” was not misleading. Yet,

the District Court denied Plaintiff’s motion for judgment as a matter of

law. The District Court pointed to testimony that the Saudi PIF had

shown previous interest in taking Tesla private and had given Tesla

employees the “impression” that there was essentially a “handshake

deal” and all that was left was to “work out the details”. 1-ER-3 at 13.

“Details” included price as well as the actual percentage of Tesla the

Saudi PIF would acquire and who else would acquire any remaining

percentage required. Id. According to the District Court, this still meant

that funding was essentially “secured” because the Saudi PIF had ample

financing available to it. Id. The fact that Mr. Musk had no intention of


                                       58
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 65 of 76




using the Saudi PIF to fund the entire transaction, had no way of even

knowing how much funding was required and had had no discussions

with any other potential source of funding did not, in the District Court’s

view, prevent funding from being essentially secured for potentially tens

of billions of dollars.4 This finding is incoherent and counterfactual.

     As Mr. Durban and Mr. Dees testified, there is a large, material

difference between funding being available and funding being committed.

It was widely known that there was sufficient capital available in the

world to finance a go-private of even a large corporation like Tesla. As

Mr. Koney testified, he always understood that there was capital

available but it was still important to him that Mr. Musk had stated

publicly that funding was secured. 6-ER-1310 at 30; 4-ER-777. The actual

phrase used by Mr. Ahuja to describe the Saudi PIF’s statements on July

31, 2018 is that it had “expressed interest” in taking Tesla private. 3-ER-




4 The District Court even cited Mr. Musk’s desire for many shareholders

to roll over their investments into a private Tesla as a reason why
funding was essentially “secure”. 1-ER-3 at 13. But it was still uncertain
whether rolling shareholders into a private Tesla was even feasible and
it created enormous uncertainty on the amount of funding needed and
the terms on which it could be provided. Thus this aspect of Mr. Musk’s
proposal made funding less secure not more.
                                       59
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 66 of 76




410. As Mr. Durban explained, expressing interest is very different from

committing funding. 3-ER-447.

     As the District Court stated when granting summary judgment to

Plaintiff: “there is some softness to the term ‘secured.’ But even accepting

that there is some room for disagreement as to precisely how secure

something must be before the term may be appropriately used, the term

is not so elastic as to escape any real meaning.” Finding that a

preliminary meeting with the Saudi PIF where no price, deal structure,

or total amount of funding is discussed is materially the same as

“securing financing” strips the phrase of all meaning. The evidence at

trial is that investors and analysts were very interested in how Mr. Musk

had secured funding for a go-private transaction and understood it to

mean more than just identifying potential sources of capital or having

preliminary discussions. Under no circumstances could Mr. Musk’s

preliminary discussions with the Saudi PIF be materially equivalent to

being “locked and loaded and no question at all a hundred percent that

you have funding ready to go” as understood by Mr. Fath. Certainly Mr.

Durban and Mr. Dees did not understand it that way when they spent

two weeks trying to identify possible funding sources and begin the


                                       60
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 67 of 76




process of obtaining signed commitment letters.

     Accordingly, there is no substantial evidence that the status of Mr.

Musk’s discussions with the Saudi PIF was materially similar to having

“funding secured”. Plaintiff’s motion for judgment as a matter of law on

this issue should have been granted.

           ii.    “Investor support is confirmed” is materially
                  different from the actual lack of support from
                  Tesla investors for a go-private transaction.

     Mr. Musk’s statement that “Investor support is confirmed. Only

reason why this is not certain is that its contingent on a shareholder vote”

on August 7, 2023 is demonstrably untrue from the evidence of just Mr.

Musk himself. By the time he sent the tweet, Mr. Musk had spoken to

just one investor about a potential go-private: the Saudi PIF. 2-ER-329.

He had not discussed the potential price or structure of a go-private

transaction with any investor other than the Tesla Board. By August 23,

2018, Mr. Musk and his representatives had spoken to Tesla investors.

As he advised the Tesla Board, “information he had learned in recent

weeks following his announcement, including but not limited to, the

negative views of many of Tesla’s current stockholders regarding the

prospect of Tesla going private, the difficulties the Company’s current


                                       61
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 68 of 76




stockholders would have in continuing to own Tesla’s stock if the

Company went private . . . .” 2-ER-346-347; 4-ER-785 at 1. Mr. Musk then

informed the Tesla Board “that he was withdrawing his offer to try and

take [Tesla] private.” 4-ER-785 at 4.

     In a press release the next day, Mr. Musk and Tesla announced that

Tesla was staying a public company. 5-ER-1025. Mr. Musk noted that

“given the feedback I’ve received, it’s apparent the most of Tesla’s

existing shareholders believe we are better off as a public company…. the

sentiment, in a nutshell, was ‘please don’t do this.’” Id.

     There can be no starker example of a statement giving an

impression that is materially different from the actual state of affairs

than to make a statement that “investor support is confirmed” for a

transaction without speaking to investors and then, just two weeks later

after actually speaking to investors, cancelling the transaction for lack of

investor support. Yet, the District Court denied Plaintiff’s motion for

judgment as a matter of law on the materiality of this false statement. 1-

ER-3 at 13-14. The District Court felt that testimony regarding “support

from the PIF” as well as “confirmation of support for his contemplated

transaction from Ron Baron, a significant Tesla investor, as well as Larry


                                       62
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 69 of 76




Ellison” was sufficient substantial evidence that the statement was not

materially misleading.

     Again, this is contrary to the record. It is obvious from the tweet in

context that Mr. Musk is not stating that “some investors” support the

transaction. Juxtaposed with the statement “Only reason why this is not

certain is that its contingent on a shareholder vote”, it suggests majority

support for the transaction. That is how Mr. Fath interpreted the

statement: “with the funding secured Tweet followed by this, that he had

it lined up, whatever investors that may be, to support the transaction

and be able to take them private.” 6-ER-1167 at 32-33. This

understanding is obviously materially different to the situation described

by Mr. Musk to the Tesla Board on August 23, 2018.

     The additional investor support referred to by the District Court is

also not supported by the evidence. Mr. Musk had discussed the idea of a

go-private transaction with Larry Ellison in 2017 before deciding not to

proceed further at that time. He had not discussed any details of the go-

private at $420 per share with Mr. Ellison. Mr. Baron sent Mr. Musk an

email on August 7, 2018 asking to be considered as part of any go-private

transaction. 5-ER-1075. Again, there is no discussion of terms and there


                                       63
       Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 70 of 76




is no evidence Mr. Musk even read the email before sending his tweet.

Mr. Baron’s funds were included in the list of potential investors

prepared on August 16, 2018 for Silver Lake and Goldman Sachs to

contact after the tweet about potential interest in a go-private

transaction so his support was not confirmed on that date. 5-ER-954. In

any event, Mr. Baron;’s funds owned approximately 1% of Tesla in 2018

so even when combined with the Saudi PIF’s 5% ownership, it still fell

far short of sufficient investor support to take Tesla private. 5-ER-1027

at 10. While Goldman Sachs had made some estimates of potential

investor support for a go-private transaction, actual interest was

unknown and “we were making assumptions at that point.” 3-ER-452.

     The District Court’s reasoning again fails to rise above a “mere

scintilla” of evidence and “speculation” that is insufficient to justify its

decision in the face of the substantial evidence that supports just one

conclusion: that Mr. Musk’s statement “Investor support is confirmed.

Only reason why this is not certain is that its contingent on a shareholder

vote” was materially false and misleading.

                               CONCLUSION

     For the foregoing reasons, the judgment of the District Court should


                                       64
      Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 71 of 76




be vacated, its order denying Defendants’ motion for judgment as a

matter of law on materiality should be reversed, and this action

remanded for a new trial.




                   [Signature blocks on following page]




                                      65
      Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 72 of 76




Dated: November 27, 2023                   Respectfully submitted,

                                           LEVI & KORSINSKY, LLP

                                            s/ Nicholas Porritt              .
                                           Nicholas I. Porritt
                                           1101 Vermont Ave NW,
                                           Suite 700
                                           Washington, DC 20005
                                           Tel: (202) 524-4290
                                           Fax: (212) 363-7171

                                           -and-

                                           Adam M. Apton
                                           Adam C. McCall
                                           1160 Battery Street East
                                           Suite 100 - #3425
                                           San Francisco, CA 94111
                                           Tel: (415) 373-1671
                                           Fax: (212) 363-7171

                                           Counsel for Plaintiff-Appellant
                                           and Lead Counsel for the Class




                                      66
      Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 73 of 76




                    STATEMENT OF RELATED CASES

     To the best of Plaintiff’s knowledge, there are no related cases

currently pending in the Court of Appeals for the Ninth Circuit.

Dated: November 27, 2023               s/ Nicholas Porritt                   .
                                          Nicholas I. Porritt




                                      67
        Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 74 of 76




                CERTIFICATE OF COMPLIANCE [FORM 8]

_____    This brief complies with the length limits permitted by Ninth
         Circuit Rule 28.1-1. The brief is _______ words or _______
         pages, excluding the portions exempted by Fed. R. App. P. 32(f),
         if applicable. The brief's type size and type face comply with
         Fed. R. App. P. 32(a)(5) and (6).
  X      This brief complies with the length limits permitted by Ninth
         Circuit Rule 32-1. The brief is 12,453 words or _______ pages,
         excluding the portions exempted by Fed. R. App. P. 32(f), if
         applicable. The brief’s type size and type face comply with Fed.
         R. App. P. 32(a)(5) and (6).
______ This brief complies with the length limits permitted by Ninth
       Circuit Rule 32-2(b). The brief is _______ words or _______
       pages, excluding the portions exempted by Fed. R. App. P. 32(f),
       if applicable, and is filed by (1) __ separately represented
       parties; (2) __ a party or parties filing a single brief in response
       to multiple briefs; or (3) __ a party or parties filing a single
       brief in response to a longer joint brief filed under Rule 32-2(b).
       The brief's type size and type face comply with Fed. R. App. P.
       32(a)(5) and (6).
______ This brief complies with the longer length limit authorized by
       court order dated _________. The brief's type size and type face
       comply with Fed. R. App. P. 32(a)(5) and (6). The brief is
       _______ words or _______ pages, excluding the portions
       exempted by Fed. R. App. P. 32(f), if applicable.
______ This brief is accompanied by a motion for leave to file a longer
       brief pursuant to Ninth Circuit Rule 32-2 (a) and is _______
       words or _______ pages, excluding the portions exempted by
       Fed. R. App. P. 32 (f), if applicable. The brief’s type size and
       type face comply with Fed. R .App. P. 32(a)(5) and (6).
______ This brief is accompanied by a motion for leave to file a longer
       brief pursuant to Ninth Circuit Rule 29-2 (c)(2) or (3) and is
       _______ words or _______ pages, excluding the portions
       exempted by Fed. R. App. P. 32(f), if applicable. The brief's type
       size and type face comply with Fed. R. App. P. 32(a)(5) and (6).

                                        68
      Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 75 of 76




______ This brief complies with the length limits set forth at Ninth
       Circuit Rule 32-4. The brief is _______ words or _______ pages,
       excluding the portions exempted by Fed. R. App. P. 32(f), if
       applicable. The brief’s type size and type face comply with Fed.
       R. App. P. 32(a)(5) and (6).

     Dated: November 27, 2023                       s/ Nicholas I. Porritt
                                                       Nicholas I. Porritt




                                      69
      Case: 23-16010, 11/27/2023, ID: 12829244, DktEntry: 6, Page 76 of 76




                     CERTIFICATE OF SERVICE

     I hereby certify that I authorized the electronic filing of the

foregoing document with the Clerk of the Court for the United States

Court of Appeals for the Ninth Circuit by using the appellate CM/ECF

system on November 27, 2023. Participants in the case who are

registered CM/ECF users will be served by the appellate CM/ECF

system.

     Dated: November 27, 2023                    s/ Nicholas Porritt         .
                                                  Nicholas I. Porritt




                                      70
